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                                         U.S. Department of Justice
[Type text]
                                                   United States Attorney
                                                   Southern District of New York

                                                   The Silvio J. Mollo Building
                                                   One Saint Andrew’s Plaza
                                                   New York, New York 10007


                                                    August 16, 2020


Honorable Paul A. Crotty
Daniel Patrick Moynihan
United States Courthouse
500 Pearl St.
New York, NY 10007-1312

    Re: United States of America v. Guy Fisher, Docket No. 83 Cr. 150 (PAC)

Dear Judge Crotty:

       The Government respectfully requests, with the consent of defense counsel, an additional
two days, until August 21, 2020, in order to submit its response to the defendant’s motion (ECF.
No. 84). The current deadline is August 19, 2020. This request is the Government’s first for an
extension of time.

                                            Respectfully submitted,

 8/17/2020                                  AUDREY STRAUSS
 A two-day extension until                  Acting United States Attorney for the
 August 21, 2020 is granted.                Southern District of New York
 SO ORDERED.

                                        by: _____________________________
                                            Kaylan E. Lasky
                                            Assistant United States Attorney
                                            (212) 637-2315
                                            kaylan.lasky@usdoj.gov


cc: Mark B. Gombiner, Esq. (via ECF)
